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 8                            UNITED STATES DISTRICT COURT

 9                       FOR THE CENTRAL DISTRICT OF CALIFORNIA

10                                   SOUTHERN DIVISION

11    UNITED STATES OF AMERICA,                Case No. SACV 15-00369-CJC(RNBx)

12               Plaintiff,                    CONSENT JUDGMENT OF FORFEITURE

13                     v.

14    $434,750.00 IN U.S. CURRENCY,

15               Defendant.

16

17    RANDY GAGNIER,
18                Claimant.
19

20          Pursuant to the stipulation and request of Plaintiff United
21    States of America and Claimant Randy Gagnier (“Claimant”), the Court
22    hereby enters this Consent Judgment of Forfeiture containing the
23    terms set forth below:
24          On or about March 6, 2015, Plaintiff United States of America
25    (“the United States of America”) filed a Complaint for Forfeiture
26    alleging that the defendant $434,750.00 in U.S. Currency (the
27    “defendant currency”) is subject to forfeiture pursuant to 21 U.S.C.
28    § 881(a)(6) and 18 U.S.C. § 981(a)(1)(A) and (C).
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 1            Claimant and former claimant Amy Gagnier filed their respective

 2    claims to the defendant currency on or about May 15, 2015 and

 3    Claimant filed an answer to the complaint on or about February 8,

 4    2018.    Former claimant Amy Gagnier’s interest in the defendant

 5    currency was resolved via a consent judgment of forfeiture filed on

 6    or about February 23, 2018.

 7            No other parties have appeared in this case and the time for

 8    filing claims and answers has expired.

 9            The government and Claimant have now agreed to settle this

10    action and to avoid further litigation by entering into this Consent

11    Judgment of Forfeiture.

12            The Court, having been duly advised of and having considered the

13    matter, and based upon the mutual consent of the parties hereto,

14            IT IS HEREBY ORDERED, ADJUDGED, AND DECREED:

15            1.   This Court has jurisdiction over the subject matter of this

16    action and the parties to this Consent Judgment of Forfeiture.

17            2.   The Complaint for Forfeiture states a claim for relief

18    pursuant to 21 U.S.C. § 881(a)(6) and 18 U.S.C. § 981(a)(1)(A) and

19    (C).

20            3.   Notice of this action has been given as required by law.

21    No appearances have been made in the litigation by any person other

22    than Claimant and former claimant Amy Gagnier whose interest was

23    resolved via a consent judgment of forfeiture filed on or about

24    February 23, 2018.     The Court deems that all other potential

25    claimants admit the allegations of the Complaint for Forfeiture to be

26    true.

27            4.   The United States of America shall have judgment as to the

28    interests of Claimant and all other potential claimants as to

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 1    $334,750.00 of the defendant currency, together with any interest

 2    earned on the defendant currency by the United States of America

 3    since seizure, which funds are hereby condemned and forfeited to the

 4    United States of America.       The United States of America shall dispose

 5    of those funds in accordance with law.

 6          5.    The remaining $100,000.00 of the defendant currency,

 7    without interest, shall be returned to Claimant.          The funds to be

 8    returned to Claimant shall be paid to Claimant by electronic transfer

 9    directly into the client trust account of the attorney of record for

10    Claimant in this case.      Claimant (through Claimant’s attorney of

11    record) shall provide all information and complete all documents

12    requested by the United States of America in order for the United

13    States of America to complete the transfer including, without

14    limitation, providing the identity of the bank, the bank’s address

15    and the account name, account number, account type and wire transfer

16    routing number for the client trust account to which the transfer of

17    funds is to be made.

18          6.    Claimant hereby releases the United States of America, its

19    agencies, agents, officers, employees and representatives, including,

20    without limitation, all agents, officers, employees and

21    representatives of the Department of Homeland Security, the Bureau of

22    Customs and Border Protection, the Immigration and Customs

23    Enforcement and their respective agencies, as well as all agents,

24    officers, employees and representatives of any state or local

25    governmental or law enforcement agency involved in the investigation

26    or prosecution of this matter, from any and all claims (including,

27    without limitation any petitions for remission, which Claimant hereby

28    withdraws), actions or liabilities arising out of or related to this

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 1    action, including, without limitation, any claim for attorney fees,

 2    costs and interest, which may be asserted by or on behalf of

 3    Claimant, whether pursuant to 28 U.S.C. § 2465 or otherwise.

 4          7.    The Court finds that there was reasonable cause for the

 5    seizure of the defendant currency and institution of these

 6    proceedings.     This judgment shall be construed as a certificate of

 7    reasonable cause pursuant to 28 U.S.C. § 2465.

 8          8.    The Court further finds that Claimant did not substantially

 9    prevail in this action, and each of the parties hereto shall bear

10    their own attorney fees and costs.

11          9.    The United States of America and Claimant consent to this

12    judgment and waive any right to appeal.

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14    Dated: March 6, 2020                                                     _
                                         THE HONORABLE CORMAC J. CARNEY
15                                       UNITED STATES DISTRICT JUDGE

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